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                             IN THE UNITED STATES BANKRUPTCY COURT
                                   SOUTHERN DISTRICT OF TEXAS
                                        MCALLEN DIVISION


IN RE:    ABEL GUERRA                                           CHAPTER 13
          1806 JONATHAN DR
          MISSION, TX 78572                                     CASE NO. 19-70046-M-13

                      DEBTOR


  NOTICE OF HEARING REGARDING (1) CONFIRMATION OF PROPOSED CHAPTER 13 PLAN,
   (2) VALUATION OF COLLATERAL, (3) DISMISSAL OF CHAPTER 13 BANKRUPTCY CASE,
         (4) CONVERSION OF CHAPTER 13 CASE, AND (5) ENTRY OF OTHER ORDERS
                       CONCERNING ADMINISTRATION OF CASE

        The United States Bankruptcy Court will conduct a hearing on whether (1) to confirm the debtor(s)
proposed bankruptcy plan, (2) dismiss this case, (3) convert this case under chapter 7, and/or (4) to enter other
orders concerning the administration of this case. The hearing will take place on April 11, 2019 at 9:00 am at:


   US Federal Courthouse, 1701 W. Business Highway 83, Bentsen Tower, 10th floor, McAllen, TX
                                             78501

        Attached to this notice is a copy of the statistical cover sheet submitted by the debtor(s) with their
proposed plan. This cover sheet serves as a summary of the plan. A complete copy of the proposed plan is
available from clerk of the Court or the Debtor(s) Attorney. The Court may consider the current plan or a
modified plan at the confirmation hearing.

        If you object to confirmation of the plan, you must file your objection at least seven days before the
confirmation hearing and serve a copy of the objection on the debtor, the debtor(s) counsel, the Chapter 13
Trustee, and parties requesting notice.

        If the plan is not confirmed, the Court may consider whether to dismiss this chapter 13 case due to
unreasonable delay that is prejudicial to creditors. The Court may also consider whether the case should be
converted to a case under chapter 7 of the Bankruptcy Code.

         The Court may also consider whether to enter other orders that are appropriate for administration of this
case.

Dated: 02/12/2019
                                                      /s/ Cindy Boudloche
                                                      CINDY BOUDLOCHE, TRUSTEE
                                                      555 N. CARANCAHUA STE 600
                                                      CORPUS CHRISTI, TX 78401-0823
                                                      (361)883-5786


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     The Debtor(s)’
 “Plan Summary and
Statistical Cover Sheet
 to Proposed Plan” is
 not attached because it
was not on file with the
   Bankruptcy Court.
   Please contact the
  Debtor(s)’ Attorney
 for more information.
